Case 8:20-cv-01181-FLA-DFM Document 20 Filed 04/01/21 Page 1 of 1 Page ID #:86

                                                                   JS-6




                       UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA
                            SOUTHERN DIVISION



  CHRISTOPHER KEN IRELAND,                No. SA CV 20-01181-FLA (DFM)

          Plaintiff,                      JUDGMENT

             v.

  ORANGE COUNTY SHERIFF’S
  DEPARTMENT et al.,

          Defendants.



       Pursuant to the Court’s Order Accepting the Report and
 Recommendation of United States Magistrate Judge, IT IS ADJUDGED that
 the Complaint and entire action is dismissed with prejudice.



  Date: April 1, 2021                      _____________________________
                                           FERNANDO L. AENLLE-ROCHA
                                           United States District Judge
